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                                          UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA                                                                                    ORDER SETTING CONDITIONS
                      v.                                                                                                   OF RELEASE

 Jason Michael Keating                                                                                                  Case Number: 3:14MJ0057

IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1)      The defendant shall not commit any offense in violations of federal, state or local law while on release in this case.

(2)      The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C § 14135a.

(3)      The defendant shall immediately advise the court through Pretrial Services or defense counsel in writing of any change in
         address and telephone number.

(4)      The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
         The defendant shall next appear as directed by U.S. District Court.

                                                        Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:
     • Report as directed by the U.S. Pretrial Services Office.
     • Find and maintain gainful full-time employment, approved schooling or a full-time combination of both, as directed and
        approved by Pretrial Services.
     • The defendant will not fmd employment selling shoes and any self employment must be pre-approved.
     • Do not change place of residence without the prior approval of U.S. Pretrial Services.
     • Travel is limited to Florida and Oregon unless prior approval is obtained from U.S. Pretrial Services.
     • Do not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. Section 802, unless
        prescribed by a licensed medical practitioner. This provision does not permit the use or possession of medical marijuana even
        with a physician's written certification. The defendant is prohibited from using or possessing any synthetic intoxicating
        substance, including but not limited to "Spice", "K-2" and other forms of synthetic marijuana
     • Do not use, possess, or consume alcohol.
     • The defendant shall submit to testing for a prohibited substance if required by the pretrial services office or supervising officer.
        Testing may be used with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol
        testing system, and/or any form of prohibited substance screening or testing. The defendant must not obstruct, attempt to
        obstruct, or tamper with the efficiency and accuracy of prohibited substance screening or testing.
     • Neither own, possess, nor control any firearm (or any weapon).
     • Avoid all contact with the following named persons: cfl:det@aaaats TUNG 'vJJ{I}~ Ito ~ /<jL£ /(E!JKJ Y~()::jfe
     • The defendant is to pay a percentage of all fees for services obtained while under Preffial Services Supervision. c¥-                  $'£;,)
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                                                        Advice of Penalties and Sanctions                                                     ~1.0/I::E?

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

            The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in addition
to any other sentence.

          Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to intimidate
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a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten years of
imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, or to retaliate against a witness, victim or informant, or to threaten
or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1)       an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)       an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than $250,000
          or imprisoned for no more than five years, or both;

(3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;

(4)       a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. 1n addition, a
failure to appear may result in the forfeiture of any bond posted.

                                                            Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.

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                                                                                                               City, State & Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
K       Alcohol detection

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        Drug detection
        Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
~       The defendant is ORDERED released after processing.
D       The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
        judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
        availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
        produced before the duty Magistrate Judge on                                              at

Date:   )ryvtr?G J&J t
                                                                                                           Janice M. Stewart
                                                                                                           U.S. Magistrate Judge
                                                                                                     Name and Title of Judicial Officer
cc:       Defendant
          US Attorney
          US Marshal
          Pretrial Services
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